                                                                                 Case 3:10-cv-04755-JSW Document 57 Filed 01/21/11 Page 1 of 5



                                                                          1
                                                                          2
                                                                          3
                                                                          4
                                                                          5
                                                                          6                               IN THE UNITED STATES DISTRICT COURT
                                                                          7
                                                                                                   FOR THE NORTHERN DISTRICT OF CALIFORNIA
                                                                          8
                                                                          9   IPVENTURE, INC.,
                                                                         10                  Plaintiff,                                 No. C 10-04755 JSW
                                                                         11     v.
United States District Court
                               For the Northern District of California




                                                                         12   CELLCO PARTNERSHIP ET AL,                                 ORDER GRANTING MOTIONS
                                                                                                                                        TO DISMISS WITH LEAVE TO
                                                                         13                  Defendants.                                AMEND
                                                                                                                              /
                                                                         14
                                                                         15          Now before the Court is the motions to dismiss the claims for willful infringement and
                                                                         16   indirect infringement filed by Defendants AT&T Inc. and AT&T Mobility (“AT&T”), LLC,
                                                                         17   Cellco Partnership (“Cellco”), and Sprint Spectrum, LP and Nextel Operations, Inc. (“Sprint”)
                                                                         18   (collectively, “Defendants”). Having considered the parties’ papers, relevant legal authority,
                                                                         19   and the record in this case, the Court finds the matters suitable for disposition without oral
                                                                         20   argument. See N.D. Civ. L-R 7-1(b). Therefore, the hearing date of February 4, 2011 is
                                                                         21   HEREBY VACATED. The Court GRANTS the motions to dismiss and GRANTS Plaintiff
                                                                         22   leave to amend.
                                                                         23                                           BACKGROUND
                                                                         24          This litigation began on September 10, 2010 when Plaintiff’s predecessor in interest to
                                                                         25   the patent in suit, Guardian Location Systems, LLC, filed a lawsuit against Cellco and its co-
                                                                         26   defendants in the Eastern District of Texas (“Texas Action”). The original complaint in the
                                                                         27   Texas Action did not include a claim for willful infringement, which was only added in an
                                                                         28   amended complaint filed on September 24, 2010. Before having an opportunity to answer the
                                                                                   Case 3:10-cv-04755-JSW Document 57 Filed 01/21/11 Page 2 of 5



                                                                          1   amended complaint in that action, Plaintiff dismissed the Texas Action without prejudice on
                                                                          2   October 12, 2010 and, after the patent-in-suit was reassigned to IpVenture, the same suit was re-
                                                                          3   filed in this District on October 20, 2010.
                                                                          4              According to the undisputed facts in the record, the application for the patent-in-suit,
                                                                          5   U.S. Patent No. 7,366,522, was originally filed with the U.S. Patent and Trademark Office
                                                                          6   (“PTO”) on February 28, 2001. The pending application was published on March 27, 2003.
                                                                          7   The original application contained 23 claims. After seven years of prosecution, including ten
                                                                          8   amendments and three requests for continued examination filed in response to a series of PTO
                                                                          9   rejections, the patent-in-suit finally issued on April 29, 2008.
                                                                         10              The complaint filed before this Court makes a claim for willful infringement, alleging
                                                                         11   that Defendants knew or should have known of the patent at least as early as April 29, 2008.
United States District Court
                               For the Northern District of California




                                                                         12   (Compl. at ¶ 48.) However, the recitation of facts merely includes the allegation that the patent
                                                                         13   application was cited in Defendants’ patents. Defendants contend that the vague allegation of
                                                                         14   knowledge of the actually issued patent is insufficient as the only factual allegation is that the
                                                                         15   application was cited as a reference during the prosecution of Defendants’ patents.1 On this
                                                                         16   basis, all Defendants move to dismiss the willful infringement claim. Sprint also moves to
                                                                         17   dismiss the claim for indirect infringement for failure to state a claim upon which relief can be
                                                                         18   granted.
                                                                         19              The Court shall address additional facts as necessary in the remainder of this Order.
                                                                         20                                                 ANALYSIS
                                                                         21   A.         Applicable Legal Standards.
                                                                         22              A motion to dismiss is proper under Federal Rule of Civil Procedure 12(b)(6) where the
                                                                         23   pleadings fail to state a claim upon which relief can be granted. The complaint is construed in
                                                                         24   the light most favorable to the non-moving party and all material allegations in the complaint
                                                                         25
                                                                         26          1
                                                                                        Cellco contends that the complaint makes allegations about Verizon Wireless, but
                                                                              has not demonstrated that Cellco prosecuted or owns the subject patent. Cellco states that
                                                                         27   the cover pages of the allegedly infringing patent indicate that Verizon Corporate Services
                                                                              Group Inc. and BBNT Solutions LLC were separate legal entities from Cellco and the legal
                                                                         28   assignees that prosecuted and owned the patents. (Motion at 5.) In their amended complaint,
                                                                              Plaintiffs should assert their claim against the proper corporate entity.

                                                                                                                                  2
                                                                                 Case 3:10-cv-04755-JSW Document 57 Filed 01/21/11 Page 3 of 5



                                                                          1   are taken to be true. Sanders v. Kennedy, 794 F.2d 478, 481 (9th Cir. 1986). However, even
                                                                          2   under the liberal pleading standard of Federal Rule of Civil Procedure 8(a)(2), “a plaintiff’s
                                                                          3   obligation to provide the ‘grounds’ of his ‘entitle[ment] to relief’ requires more than labels and
                                                                          4   conclusions, and a formulaic recitation of the elements of a cause of action will not do.” Bell
                                                                          5   Atlantic Corporation v. Twombly, 550 U.S. 544, 555 (2007) (citing Papasan v. Allain, 478 U.S.
                                                                          6   265, 286 (1986)).
                                                                          7          Pursuant to Twombly, a plaintiff must not merely allege conduct that is conceivable but
                                                                          8   must instead allege “enough facts to state a claim to relief that is plausible on its face.” Id. at
                                                                          9   570. “A claim has facial plausibility when the plaintiff pleads factual content that allows the
                                                                         10   court to draw the reasonable inference that the defendant is liable for the misconduct alleged.”
                                                                         11   Ashcroft v. Iqbal, 556 U.S. __, 129 S. Ct. 1937, 1949 (2009) (citing Twombly, 550 U.S. at 556).
United States District Court
                               For the Northern District of California




                                                                         12   “The plausibility standard is not akin to a probability requirement, but it asks for more than a
                                                                         13   sheer possibility that a defendant has acted unlawfully. ... When a complaint pleads facts that
                                                                         14   are merely consistent with a defendant’s liability, it stops short of the line between possibility
                                                                         15   and plausibility of entitlement to relief.” Id. (quoting Twombly, 550 U.S. at 556-57) (internal
                                                                         16   quotation marks omitted). “While a complaint attacked by a Rule 12(b)(6) motion to dismiss
                                                                         17   does not need detailed factual allegations, a plaintiff’s obligation to provide the ‘grounds’ of his
                                                                         18   ‘entitlement to relief’ requires more than labels and conclusions, and a formulaic recitation of
                                                                         19   the elements of a cause of action will not do.” Twombly, 550 U.S. at 544. If the allegations are
                                                                         20   insufficient to state a claim, a court should grant leave to amend, unless amendment would be
                                                                         21   futile. See, e.g., Reddy v. Litton Indus., Inc., 912 F.2d 291, 296 (9th Cir. 1990); Cook, Perkiss
                                                                         22   & Liehe, Inc. v. N. Cal. Collection Serv., Inc., 911 F.2d 242, 246-47 (9th Cir. 1990).
                                                                         23          To state a claim for patent infringement, “a patentee need only plead facts sufficient to
                                                                         24   place the alleged infringer on notice. The requirement ensures that the accused infringer has
                                                                         25   sufficient knowledge of the facts alleged to enable it to answer the complaint and defend itself.”
                                                                         26   Phonometrics, Inc. v. Hospitality Franchise System, Inc., 203 F.3d 790, 794 (Fed. Cir. 2000).
                                                                         27   Thus, a plaintiff is not required to specifically include each element of the claims of the asserted
                                                                         28   patent. See id.


                                                                                                                                3
                                                                                   Case 3:10-cv-04755-JSW Document 57 Filed 01/21/11 Page 4 of 5



                                                                          1   B.      Defendants’ Motions to Dismiss Willful Infringement Claim Are Granted, with
                                                                                      Leave to Amend.
                                                                          2
                                                                          3           “In order to establish willful infringement, a patentee must show by clear and
                                                                          4   convincing evidence that the infringer acted despite an objective likelihood that its actions
                                                                          5   constituted infringement of a valid patent.” In re Seagate Technology, LLC, 497 F.3d 1360,
                                                                          6   1371 (Fed. Cir. 2007). “To willfully infringe a patent, the patent must exist and one must have
                                                                          7   knowledge of it .... Filing an application is no guarantee any patent will issue and a very
                                                                          8   substantial percentage of applications never result in patents. What the scope of claims in
                                                                          9   patents that do issue will be is something totally unforeseeable.” State Industries, Inc. v. A. O.
                                                                         10   Smith Corp., 751 F.2d 1226, 1236 (Fed. Cir. 1985) (emphasis in original).
                                                                         11           Plaintiff’s current complaint merely alleges the factual predicate that Defendants had
United States District Court
                               For the Northern District of California




                                                                         12   knowledge of Plaintiff’s patent application. (See Compl. at ¶¶ 48, 77, 111.) Because there are
                                                                         13   no facts to support the claim that Defendants actually had knowledge of the issued patent, and
                                                                         14   there is merely the bare recitation of the required legal elements for willful infringement, the
                                                                         15   Court finds that Plaintiff has failed to state a cause of action for willful infringement. However,
                                                                         16   Plaintiff has leave to amend to add facts to support its claim of knowledge of the issued patent
                                                                         17   should Plaintiff be able to assert such a factual predicate. The Court is not persuaded by
                                                                         18   Plaintiff’s argument that the burden of proof versus the burden of pleading makes a
                                                                         19   determinative distinction. In order to state a claim for willful infringement, Plaintiff must make
                                                                         20   out the barest factual assertion of knowledge of an issued patent. This Plaintiff has failed to do,
                                                                         21   but has leave to do so.
                                                                         22           Accordingly, the Court GRANTS Defendants’ motions to dismiss the willful
                                                                         23   infringement claim and GRANTS Plaintiff leave to amend.
                                                                         24   C.      AT&T’s and Sprint’s Motions to Dismiss Indirect Infringement Claim Are
                                                                                      Granted, With Leave to Amend.
                                                                         25           AT&T and Sprint contend that Plaintiff fails to state a claim of indirect infringement
                                                                         26   based upon either inducement or contributory infringement as Plaintiff has failed to allege a
                                                                         27   third party who directly infringes the patent or the specific infringing activity. (See AT&T and
                                                                         28


                                                                                                                               4
                                                                                 Case 3:10-cv-04755-JSW Document 57 Filed 01/21/11 Page 5 of 5



                                                                          1   Sprint Motions at 7, citing Dynacore Holdings Corp. v. U.S. Phillips Corp., 363 F.3d 1263,
                                                                          2   1272 (Fed. Cir. 2004); Phonometrics, 203 F.3d at 794.)
                                                                          3            Again, Plaintiff contends that at the pleading stage, bare recitation of the elements of the
                                                                          4   claim are sufficient. (See Compl. at ¶¶ 45, 74, 108.) In its opposition, Plaintiff alludes to the
                                                                          5   length of the complaint and the volume of evidence submitted with it, in the form of charts and
                                                                          6   summaries, but admits that it has not made the factual allegations underlying this claim explicit
                                                                          7   in the complaint. Instead, Plaintiff contends that the additional submissions indicating that
                                                                          8   Defendants provided detailed explanations, instruction, and information to potential third
                                                                          9   parties, leads to the plausible inference that Defendants actively induced infringement. (Opp.
                                                                         10   Br. at 8.) The Court finds that, as currently drafted, the complaint fails to give Defendants
                                                                         11   sufficient notice of the specific conduct alleged to form the basis for Plaintiff’s claim of indirect
United States District Court
                               For the Northern District of California




                                                                         12   infringement.
                                                                         13            Accordingly, the motion to dismiss the indirect infringement action is GRANTED and
                                                                         14   Plaintiff is GRANTED leave to amend. By permitting Plaintiff leave to amend, the Court
                                                                         15   requires that Plaintiff’s claim for indirect infringement be made explicit, in the text of the
                                                                         16   complaint itself, and provide the proper detail required for an indirect infringement allegation.
                                                                         17                                             CONCLUSION
                                                                         18            For the foregoing reasons, Defendants’ motions to dismiss the willful infringement and
                                                                         19   indirect infringement claims are GRANTED. However, Plaintiff is granted leave to amend.
                                                                         20   Plaintiff shall file and serve an amended complaint within fourteen days of the date of this
                                                                         21   Order, and Defendants shall file their response within fourteen days thereafter.
                                                                         22            IT IS SO ORDERED.
                                                                         23
                                                                         24   Dated:    January 21, 2011
                                                                                                                                         JEFFREY S. WHITE
                                                                         25                                                              UNITED STATES DISTRICT JUDGE
                                                                         26
                                                                         27
                                                                         28


                                                                                                                                5
